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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT of CALIFORNIA

                                   CRIMINAL MINUTES

 Judge:             Jon S. Tigar                         Time in Court:     40 minutes
 Date:              April 29, 2022
 Case No.:          4:21-cr-00186-JST-1

 United States of America             v.       Charles Hollins

                                             Defendant
                                           ; Present
                                            Not Present
                                            In Custody

 David Ward                                              Julia Jayne
 U.S. Attorney                                           Defense Counsel



 Courtroom Deputy Clerk: Mauriona Lee                    Reporter: Raynee Mercado


                                      PROCEEDINGS

Change of Plea – held.

                                   RESULT OF HEARING


   1. The plea agreement was signed and filed in court. The Defendant was sworn. The Court
      found the Defendant to be fully competent and capable of entering into an informed plea.
      The plea is knowing and voluntary. The Court found a factual basis for the plea. The
      Defendant entered a plea of guilty as to Count One and Count Three of the Indictment.
      The plea was accepted and the Defendant is adjudged guilty of the offense.
   2. Sentencing set for September 2, 2022 at 9:30 a.m. in Courtroom 6, 2nd floor, Oakland.
   3. Defendant will remain out of custody pending sentencing.




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